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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

                                                    :
Russell Brazier,                                    :
                                                      Civil Action No.: 4:19-cv-82
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Convergent Outsourcing, Inc.,                       :
                                                      COMPLAINT
                                                    :
                                                      JURY
                        Defendant.                  :
                                                    :
                                                    :

                For this Complaint, the Plaintiff, Russell Brazier, by undersigned counsel, states

as follows:

                                          JURISDICTION

        1.      This action arises out of the Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendant in their illegal efforts to collect a consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendant transacts business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                              PARTIES

        4.      The Plaintiff, Russell Brazier (“Plaintiff”), is an adult individual residing in Little

Elm, Texas, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant Convergent Outsourcing, Inc. (“Convergent”), is a Washington

business entity with an address of 800 South West 39th Street, Renton, Washington 98057,
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operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A.      The Debt

        6.     The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

        7.     The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

        8.     The Debt was purchased, assigned or transferred to Convergent for collection, or

Convergent was employed by the Creditor to collect the Debt.

        9.     The Defendant attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B.      Convergent Engages in Harassment and Abusive Tactics

        10.    Within the last year, Convergent called Plaintiff’s cellphone in an attempt to

collect the Debt from Plaintiff’s wife, Vanessa Brazier.

        11.    On several separate occasions, Plaintiff informed Convergent that his wife could

not be reached on his personal cellphone and requested that the calls cease.

        12.    Despite having been so informed and requested to cease communications,

Convergent called Plaintiff at least twenty (20) more times, causing inconvenience and

frustration.

C.      Plaintiff Suffered Actual Damages

        13.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendant’s unlawful conduct.
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       14.     As a direct consequence of the Defendant’s acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                            COUNT I

                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       15.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       16.     The Defendant’s conduct violated 15 U.S.C. § 1692b(1) in that Defendant

contacted Plaintiff for purposes other than to confirm or correct location information.

       17.     The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       18.     The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       19.     The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

unfair and unconscionable means to collect a debt.

       20.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       21.     The Plaintiff is entitled to damages as a result of Defendant’s violations.




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                                             COUNT II

                VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                        TEX. FIN. CODE ANN. § 392, et al.

       22.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       23.     The Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

       24.     The Defendant are each a “debt collector” and a “third party debt collector” as

defined by Tex. Fin. Code Ann. § 392.001(6) and (7).

       25.     The Defendant caused a telephone to ring repeatedly, with the intent to annoy or

abuse the Plaintiff, in violation of Tex. Fin. Code Ann. § 392.302(4).

       26.     The Plaintiff is entitled to injunctive relief and actual damages pursuant to Tex.

Fin. Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code

§ 17.62 pursuant to Tex. Fin. Code Ann. § 392.404(a).

                                            COUNT III

          INVASION OF PRIVACY BY INTRUSION INTO PRIVATE AFFAIRS

       27.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       28.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       29.     Texas further recognizes the Plaintiff’s right to be free from invasions of privacy,

thus the Defendant violated Texas state law.




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         30.   The Defendant intentionally intruded upon the Plaintiff’s right to privacy by

continually harassing the Plaintiff with numerous phones after the Plaintiff’s request for cease of

calls.

         31.   The telephone calls made by the Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

         32.   The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

         33.   As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendant.

         34.   All acts of the Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendant are subject to punitive damages.

                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendant:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendant;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                       against the Defendant;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against the Defendant;

                   4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);


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                 5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                 6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                      Code Ann. § 392.404(a);

                 7. Actual damages from the Defendant for the all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or negligent

                      FDCPA violations and intentional, reckless, and/or negligent invasions of

                      privacy in an amount to be determined at trial for the Plaintiff;

                 8. Punitive damages; and

                 9. Such other and further relief as may be just and proper.


                          TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: February 1, 2019

                                              Respectfully submitted,

                                              By /s/ Jody B. Burton

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